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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY



  UNITED STATES OF AMERICA           :          Crim. No. 2:19-cr-00658-KM

             v.                      :

      DARRYL DANCY                       :      SUBSTITUTION OF ATTORNEY



             PLEASE TAKE NOTICE that Rachael A. Honig, Acting

United States Attorney for the District of New Jersey, has

reassigned the above-captioned matter to Sophie Reiter, Assistant

U.S. Attorney (Sophie.Reiter@usdoj.gov), in substitution for

Jonathan W. Romankow, Assistant U.S. Attorney, who previously

appeared in this matter.




                                             RACHAEL A. HONIG
                                             ACTING UNITED STATES ATTORNEY

                                             /s/ Sophie Reiter

                                             By: SOPHIE REITER
                                             Assistant U.S. Attorney




Dated: June 15, 2021
